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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X                        20-cv-00485
 Sarah Edmondson, et al.                                                          __________________
                                   Plaintiffs,
            v.                                                                    NOTICE OF MOTION
 Keith Raniere, et al.                                                            TO ADMIT COUNSEL
                                    Defendants.                                   PRO HAC VICE
---------------------------------------------------------X

TO:      Opposing Counsel
         ________________________________

         ________________________________

PLEASE TAKE NOTICE that upon the annexed affidavit of movant in support of this motion and
                                                       Manuel J. Dominguez
the Certificate(s) of Good Standing annexed thereto, I ___________________ will move this

Court pursuant to Rule 1.3(c) of the Local Rules of the United States District Courts for the

Southern and Eastern Districts of New York for an order allowing the admission of movant, a
                      Cohen Milstein Sellers & Toll PLLC
member of the firm of _____________________________ and a member in good standing of

                                Florida
the bar(s) of the State(s) of ____________________________________, as attorney pro hac

vice to argue or try this case in whole or in part as counsel for
Plaintiffs
______________________________________________. There are no pending disciplinary

proceedings against me in any state or federal court. (If there are any disciplinary proceedings,

describe them.)

                                                             Respectfully submitted,

Dated:6/18/2025
       ____________                                          /s/ Manuel J. Dominguez
                                                             _______________________________________
                                                             Signature of Movant
                                                                        Cohen Milstein Sellers & Toll PLLC
                                                             Firm Name______________________________
                                                                      11780  U.S. Highway One, Suite N500
                                                             Address_________________________________
                                                               Palm Beach Gardens, FL 33408
                                                             ________________________________________
                                                                     jdominguez@cohenmilstein.com
                                                             Email___________________________________
                                                                      (561) 515-1400
                                                             Phone___________________________________
